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 9

10
                              UNITED STATES DISTRICT COURT

11
                          CENTRAL DISTRICT OF CALIFORNIA

12
     ACQUISITION MANAGEMENT, INC.,              Case No.: 5:19-cv-1870
13

14
                 Plaintiff,                     COMPLAINT FOR:

15
     vs.
                                                1. TRADEMARK INFRINGEMENT –
16
     ZYNPASS, LLC dba ALOWARE, and              15 U.S.C. § 1114;
     DOES 1-5, inclusive,                       2. FALSE DESIGNATION OF
17                                              ORIGIN – 15 U.S.C. § 1125;
18
                 Defendants.                    3. TRADEMARK DILUTION – 15
                                                U.S.C. § 1125(c);
19                                              4. TRADEMARK DILUTION – Cal.
20                                              Bus. & Prof. Code § 14247;
                                                5. UNFAIR COMPETITION – Cal.
21                                              Bus. & Prof. Code § 17200 et seq.;
22
                                                DEMAND FOR JURY TRIAL
23

24
           Plaintiff ACQUISITION MANAGEMENT (“ACQUISITION”), by its attorneys,
25
     and as for its complaint against Defendant ZYNPASS, LLC dba ALOWARE
26
     (“ZYNPASS”) and Does 1-5 (“Does”) (collectively “Defendants”), alleges as follows:
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28

                                       COMPLAINT - 1
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 1                                JURISDICTION AND VENUE
 2         1.     ACQUISITION files this action for trademark infringement, false
 3   designation of origin, and trademark dilution under the Lanham Trademark Act of 1946,
 4   15 U.S.C. § 1051 et seq. (the “Lanham Act”), and related claims of declaratory judgment
 5   under Federal law, as well as unfair competition and trademark dilution under California
 6   law. This Court has subject matter jurisdiction over the Federal trademark infringement,
 7   false designation of origin and false advertising, and trademark dilution claims pursuant
 8   to 28 U.S.C. § 1121(a), 1331, 1338(a).
 9         2.     This Court has subject matter jurisdiction over the remaining claims
10   pursuant to 28 U.S.C. § 1367 as those claims arise from and are related to the same set
11   of facts as ACQUISITION’s Federal claims.
12         3.     This Court has personal jurisdiction over Defendants based on the fact that
13   Defendants conduct business within this Judicial District, and some of the acts
14   complained of occurred within this Judicial District.
15         4.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because the
16   claims asserted in this action arise out of wrongful acts by Defendants within this
17   Judicial District and Defendants are subject to personal jurisdiction in this District at the
18   time the action is commenced.
19                                        THE PARTIES
20         5.      Plaintiff ACQUISITION is and at all times mentioned herein was a
21   corporation with its principal place of business located at 412 N Main St., Ste 100,
22   Buffalo, WY 82834.
23         6.     Upon information and belief, Defendant ZYNPASS is, and at all times
24   herein mentioned was, a corporation duly organized and existing under the laws of
25   California, with its principal place of business located at 16060 Ventura Blvd., #110,
26   PMB 209, Encino CA 91436, and regularly conducts business in California, including
27   within this Judicial District.
28         7.     Plaintiff is unaware of the true names and capacities of Defendants sued
                                           COMPLAINT - 2
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 1   herein as DOES 1 through 5, inclusive, and therefore sues these Defendants by such
 2   fictitious names. Plaintiff will amend this complaint to allege their true names and
 3   capacities when ascertained. Plaintiff is informed and believes and thereon alleges that
 4   each of the fictitiously named Does Defendants is responsible in some manner for the
 5   wrongs alleged herein, that Plaintiff’s injuries were proximately caused by such Does
 6   Defendants, and that at all relevant times each was the agent and servant of the other
 7   Defendants and was acting within the course and scope of said agency and employment.
 8   These fictitiously named Does Defendants along with the Defendants named above are
 9   referred to collectively herein as “Defendants.”
10       FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
11                            A. ACQUISITION’s Trademark Rights
12         8.     ACQUISITION provides pay-per-call and telephone call data analytics
13   services to many consumers across the United States and in foreign countries.
14         9.     ACQUISITION is the owner of U.S. Trademark Registration No.
15   5,452,036 for RINGBA for “Cloud computing featuring software for use in sales and
16   marketing and call centers, namely, for use in providing management, monitoring,
17   reporting, marketing attribution, and analytics of telecommunication, Voice Over IP,
18   SMS Messaging, call routing, pay per call tracking, affiliate programs, affiliate tracking,
19   media buying, click arbitrage as well as compliance monitoring of publishers,
20   advertisers and affiliates; Software as a service (SAAS) services, namely, hosting
21   software for use by others for use in the field of sales, marketing and advertising, namely,
22   for use in providing management, monitoring, reporting, marketing attribution, and
23   analytics of telecommunication, Voice Over IP, SMS Messaging, call routing, pay per
24   call tracking, affiliate programs, affiliate tracking, media buying, click arbitrage as well
25   as compliance monitoring of publishers, advertisers and affiliates.” (hereinafter the
26   “RINGBA Mark”). The Trademark Registration Certificate of the RINGBA Mark is
27   attached hereto as Exhibit 1.
28         10.    ACQUISITION began using the RINGBA Mark at least as early as June
                                          COMPLAINT - 3
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 1   10, 2015, first applied to register the RINGBA Mark with the U.S. Patent and Trademark
 2   Office (“USPTO”) on September 8, 2017, and successfully Registered the RINGBA
 3   Mark on April 24, 2018.        ACQUISITION had been using the RINGBA Mark
 4   continuously in commerce since at least as early as June 10, 2015
 5         11.    During ACQUISITION’s several years of use, the RINGBA Mark has
 6   served as ACQUISITION’s signature identifier that distinguishes and differentiates it
 7   from other pay-per-call and telephone call data analytics services in the market, which
 8   is very crowded because the technology for fast, efficient call-routing is becoming more
 9   available. ACQUISITION has used the RINGBA Mark at all times both before and
10   since registering the RINGBA Mark in connection with its sales, promotional, and
11   advertising efforts. Such uses include prominently featuring the RINGBA Mark at trade
12   shows, social media, online advertisements, business cards, banners, and its website
13   (https://www.ringba.com). ACQUISITION has spent substantial amounts of funds in
14   connection with these efforts over the years. Examples of ACQUISITION’s use of the
15   RINGBA Mark are attached hereto as Exhibit 2.
16         12.    ACQUISITION has also used the RINGBA Mark in connection with its
17   active involvement in informational blog posting both on its website and social media.
18         13.    As a result of these efforts, ACQUISITION’s customers and the pay-per-
19   call and telephone call data analytics services industry in general have come to associate
20   the RINGBA Mark exclusively with ACQUISITION and recognize ACQUISITION as
21   an established and successful pay-per-call and telephone call data analytics services.
22   The RINGBA Mark and the goodwill associated therewith is thus a valuable asset of
23   ACQUISITION and a primary marker of the source and origin of ACQUISITION’s
24   services.
25           B. Defendants’ Actions Infringe ACQUISITION’s Trademark Rights
26         14.    ZYNPASS offers pay-per-call and telephone call data analytics services.
27   Some of these services include analyzing inbound phone calls for information including
28   caller location, agent matching, conversation recordation, and outcome tracking.
                                          COMPLAINT - 4
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 1         15.    ZYNPASS is a competitor of ACQUISITION.
 2         16.    www.Google.com (“Google”) offers an advertising system in which
 3   advertisers bid on certain keywords in order for their clickable ads to appear in Google's
 4   search results when an individual enters those certain keywords into a Google Search.
 5   This advertising system is known as Google AdWords.
 6         17.    For a period of time unknown to ACQUISITION, ZYNPASS purchased
 7   the word “RINGBA” in Google AdWords, such that when an individual would search
 8   for “RINGBA” on Google, an advertisement and/or a link to ZYNPASS’s Websites,
 9   including www.aloware.com, would be the first results the individual would be shown.
10         18.    ACQUISITION brought ZYNPASS’s purchase of RINGBA in Google
11   AdWords to Google’s attention, and Google removed said purchase of RINGBA in
12   Google AdWords by ZYNPASS. Google also barred ZYNPASS from future use of the
13   RINGBA Mark in ZYNPASS’s purchases in Google AdWords.
14         19.    Despite the fact that Google barred ZYNPASS from using the RINGBA
15   Mark in Google AdWords, ZYNPASS continues to purchase new advertisements in
16   Google AdWords including the term RINGBA. Attached hereto as Exhibit 3 is a
17   screenshot showing the Google search results when the term RINGBA is entered.
18         20.    In essence, ZYNPASS is using the RINGBA Mark to trick consumers into
19   visiting the ZYNPASS Website when the consumer is searching for ACQUISITION’s
20   services offered under the RINGBA Mark.
21         21.    In addition to purchasing the term RINGBA in Google Adwords,
22   ZYNPASS also directly uses the RINGBA Mark in its advertisements.
23         22.    With the intent of deceiving consumers, ZYNPASS uses the RINGBA
24   Mark in its advertisement in such a way that it would lead a consumer to believe that
25   RINGBA services are offered at the ZYNPASS website www.aloware.com, and utterly
26   fails to mention that ZYNPASS or its products are not related to RINGBA, as follows
27   (“the Infringing Advertisement”):
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                                          COMPLAINT - 5
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10           23.   ZYNPASS is, and was, aware that the brand awareness associated with
11   ZYNPASS and its services is not as high as those services offered under the RINGBA
12   Mark.
13           24.   Because, at least, of the actions taken by Google that barred ZYNPASS
14   from purchasing the term RINGBA in Google AdWords, ZYNPASS knew or should
15   have known that its use of the RINGBA Mark without permission was wrongful.
16           25.   Upon information and belief, by ZYNPASS’s purchase of the term
17   RINGBA in Google AdWords and the use of RINGBA as a primary feature of its the
18   Infringing Advertisement, ZYNPASS has increased internet traffic to ZYNPASS’s
19   websites, and likely increased sales, by taking advantage of the substantial investments
20   made by ACQUISITION in its RINGBA Mark and related advertising campaigns.
21           26.   Defendants have never requested ACQUISITION’s permission to use the
22   RINGBA Mark, and ACQUISITION has never authorized Defendants to do so. As
23   such, Defendants’ use of the RINGBA Mark is in complete disregard of
24   ACQUISITION’s rights to control the RINGBA Mark.
25                              FIRST CLAIM FOR RELIEF
26                      (Trademark Infringement – 15 U.S.C. § 1114)
27           27.   ACQUISITION incorporates herein by reference the allegations of the
28   preceding paragraphs as though fully set forth herein.
                                         COMPLAINT - 6
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 1         28.    Defendants have wrongfully used and are continuing to use the RINGBA
 2   Mark to promote, market, advertise, and sell their services, which are very similar to the
 3   services offered in conjunction with the RINGBA Mark.
 4         29.    Defendants’ wrongful use of the RINGBA Mark is likely to cause, has
 5   caused, and will likely continue to confuse and misdirect ACQUISITION’s customers
 6   and the consuming public. By appropriating ACQUISITION’s RINGBA Mark to
 7   advertise competitive services in the same market in which ACQUISITION has done
 8   business using the RINGBA Mark for several years, it is highly likely that the public
 9   will perceive Defendants’ use as authorized, sponsored, licensed, or approved by
10   ACQUISITION, or otherwise affiliated, associated, or connected with ACQUISITION’s
11   commercial and business activities.
12         30.    Defendants have acted with knowledge of ACQUISITION’s ownership of
13   the RINGBA Mark and with deliberate intention or willful blindness to unfairly reap the
14   benefit of ACQUISITION’s goodwill associated with the RINGBA Mark.
15         31.    Defendants’ conduct constitutes willful and exceptional trademark
16   infringement in violation of the Lanham Act.
17         32.    ACQUISITION is informed and believes and thereon alleges that
18   Defendants have generated and will continue to generate substantial profits and gains to
19   which they are not entitled in law or equity unless enjoined by this Court.
20         33.    Defendants’ conduct has injured and, unless restrained, will continue to
21   injure ACQUISITION, causing damage to ACQUISITION in an amount to be proven
22   at trial, as well as irreparable injury to the goodwill and reputation associated with the
23   RINGBA Mark. ACQUISITION has no adequate remedy at law.
24                             SECOND CLAIM FOR RELIEF
25                      (False Designation of Origin– 15 U.S.C. § 1125)
26         34.    ACQUISITION incorporates herein by reference the allegations of the
27   preceding paragraphs as though fully set forth herein.
28         35.    The inherently distinctive quality of ACQUISITION’s RINGBA Mark, has
                                           COMPLAINT - 7
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 1   achieved a high level of consumer recognition and serves to identify and distinguish
 2   ACQUISITION as a business offering high-quality pay-per-call and telephone call data
 3   analytics services.
 4         36.    Defendants’ use of the RINGBA Mark to promote, advertise, market, and
 5   sell their services, in the primary market for ACQUISITION - the internet - is intended
 6   and is likely to cause confusion, mistake, and deception among consumers and the public
 7   as to the source, origin, sponsorship, or affiliation of Defendants’ services, and is
 8   intended, and is likely to cause consumers and the public to mistakenly believe that
 9   Defendants’ services have been authorized, sponsored, licensed, or approved by
10   ACQUISITION, or are otherwise affiliated, associated, or connected with
11   ACQUISITION.
12         37.    Defendants have acted in complete disregard of ACQUISITION’s right to
13   control the RINGBA Mark, and their conduct constitutes false designation of origin in
14   violation of the Lanham Act.
15         38.    Defendants’ conduct has injured and, unless restrained, will continue to
16   injure ACQUISITION, causing damage to ACQUISITION in an amount to be proven
17   at trial, as well as irreparable injury to the goodwill and reputation associated with the
18   Mark. ACQUISITION has no adequate remedy at law
19                              THIRD CLAIM FOR RELIEF
20                         (Trademark Dilution – 15 U.S.C. § 1125(c))
21         39.     ACQUISITION incorporates herein by reference the allegations of the
22   preceding paragraphs as though fully set forth herein.
23         40.    ACQUISITION has used the RINGBA Mark continuously for over four
24   years. During this time, the RINGBA Mark, has achieved substantial public recognition
25   among the public in the pay-per-call and telephone call data analytics marketplace and
26   is thus “famous” within that market.
27         41.    Defendants have used in commerce in connection with the sale of their
28   services the protected RINGBA Mark, which is likely to cause, and likely has caused
                                          COMPLAINT - 8
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 1   actual confusion or mistake as to the affiliation, connection, or association between
 2   Defendants and ACQUISITION, or as to the source, origin, sponsorship, or affiliation
 3   of Defendants’ products and serviced by ACQUISITION.
 4         42.   ACQUISITION is informed and believes that Defendants’ conduct began
 5   long after the RINGBA Mark became famous in its market and that Defendants have
 6   acted deliberately, willfully, and knowingly, with blatant disregard for the rights of
 7   ACQUISITION, as evidenced by its use of the Registered Trademark and over four
 8   years of usage.
 9         43.   Defendants’ conduct has diluted and continues to dilute the unique and
10   distinctive RINGBA Mark. Such conduct violates the Lanham Act, has injured and,
11   unless restrained, will continue to injure ACQUISITION, causing damage to
12   ACQUISITION in an amount to be proven at trial, as well as irreparable injury to the
13   goodwill and reputation associated with the RINGBA Mark. ACQUISITION has no
14   adequate remedy at law.
15                             FOURTH CLAIM FOR RELIEF
16                 (Trademark Dilution – Cal. Bus. & Prof. Code § 14247)
17         44.   ACQUISITION incorporates herein by reference the allegations of the
18   preceding paragraphs as though fully set forth herein.
19         45.   The RINGBA Mark is distinctive in the pay-per-call and telephone call data
20   analytics market by virtue of its inherent and acquired distinctiveness, ACQUISITION’s
21   popularity, its widespread use in the market, and the extensive advertising and
22   promotional activity ACQUISITION has conducted.
23         46.   As a result of the inherent and acquired distinctiveness of the RINGBA
24   Mark, ACQUISITION’s popularity, its widespread use in the market, and the extensive
25   advertising and promotional activity ACQUISITION has conducted, the RINGBA Mark
26   has come to be widely recognized by the consuming public as the primary designation
27   of ACQUISITION’s services.
28         47.   Defendants’ conduct constitutes dilution of the RINGBA Mark and injury
                                         COMPLAINT - 9
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 1    to ACQUISITION’s business reputation in violation of California Business and
 2    Professions Code § 14247.
 3          48.    ACQUISITION is informed and believes that Defendants’ conduct began
 4    long after the RINGBA Mark became famous in the pay-per-call and telephone call data
 5    analytics market and that Defendants have acted deliberately, willfully, and knowingly.
 6          49.    As a proximate result of Defendants’ conduct, ACQUISITION has been
 7    damaged, and will continue to be damaged unless Defendants are enjoined under
 8    California Business and Professions Code Section 14247 from using that which is
 9    protected by the RINGBA Mark. ACQUISITION has no adequate remedy at law for
10    said damage.
11          50.    Defendants’ conduct was and is extreme, outrageous, and was undertaken
12    in reckless disregard of ACQUISITION’s rights, as evidenced, inter alia, by its
13    Registered Trademark. Such conduct supports an award of exemplary and punitive
14    damages in an amount sufficient to punish and make an example of Defendants and to
15    deter them from similar conduct in the future.
16                                FIFTH CLAIM FOR RELIEF
17                (Unfair Competition – Cal. Bus. & Prof. Code § 17200 et seq.)
18          51.    ACQUISITION incorporates herein by reference the allegations of the
19    preceding paragraphs as though fully set forth herein.
20          52.    ACQUISITION owns and enjoys common law trademark rights to the
21    RINGBA Mark, in addition to the rights conferred to it by virtue of U.S. Trademark
22    Registration No. 5,452,036, throughout the United States.
23          53.    Defendants’ conduct in appropriating the RINGBA Mark, for their own use
24    and benefit, in complete disregard of ACQUISITION’s rights and at ACQUISITION’s
25    expense, is unlawful, unfair, and thus constitutes unfair competition pursuant to
26    California Business and Professions Code § 17200.
27          54.    As a proximate result of Defendants’ conduct, ACQUISITION has been
28    damaged, and will continue to be damaged unless Defendants are enjoined from using
                                         COMPLAINT - 10
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 1    the RINGBA Mark. ACQUISITION has no adequate remedy at law for said damage.
 2          55.    Defendants’ conduct was extreme, outrageous, and was undertaken in
 3    reckless disregard of ACQUISITION’s rights. Such conduct supports an award of
 4    exemplary and punitive damages in an amount sufficient to punish and make an example
 5    of Defendants and to deter them from similar conduct in the future.
 6                                   PRAYER FOR RELIEF
 7          WHEREFORE, ACQUISITION prays for judgment against Defendants as
 8    follows:
 9          1.     Granting preliminary and permanent injunctive relief restraining and
10    enjoining Defendants, their officers, agents, employees, attorneys, and all those
11    persons or entities in participation or concert with them from:
12                 (a) Using the RINGBA Mark or any other elements of the RINGBA
13                    Mark, or any confusingly similar item, to sell, offer for sale, advertise,
14                    promote, or market its services;
15                 (b) Engaging in any other conduct which falsely represents or has the
16                    effect of falsely representing that Defendants’ services are licensed by,
17                    authorized by, produced by, sponsored by, or in any other way
18                    associated with ACQUISITION;
19                 (c) Engaging in any other conduct constituting unfair competition with
20                    ACQUISITION, or acts or practices that deceive consumers or the
21                    public as to the source or origin of the RINGBA Mark or any other
22                    elements associated with the Mark;
23                 (d) Engaging in any other conduct that will dilute the distinctiveness and
24                    uniqueness of the RINGBA Mark;
25          2.     Ordering Defendants to deliver to ACQUISITION for destruction and/or
26    certify that Defendants themselves have destroyed any and all advertising,
27    promotional, and marketing materials or the like in their possession, custody, or
28    control that Defendants have used or have the ability in the future to use in violation of
                                          COMPLAINT - 11
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 1    ACQUISITION’s Trademark Rights;
 2          3.     Ordering Defendants to file with this Court and serve on ACQUISITION
 3    within thirty (30) days after entry of the injunction a report in writing under oath
 4    setting forth in detail the manner and form in which Defendants have complied with
 5    the injunction;
 6          4.     Ordering Defendants to provide an accounting to ACQUISITION for any
 7    and all profits, gains, and advantages derived by their unlawful acts complained of
 8    herein;
 9          5.     Awarding ACQUISITION all of Defendants’ profits and all damages
10    sustained by ACQUISITION as a result of Defendants’ unlawful acts complained of
11    herein, and such other compensatory damages as the Court determines to be fair and
12    appropriate pursuant to 15 U.S.C. § 1117(a);
13          6.     Awarding ACQUISITION treble damages in the amount of Defendants’
14    profits for willful and exceptional infringement pursuant to 15 U.S.C. § 1117(b);
15          7.     Awarding attorneys’ fees, as well as costs and disbursements, pursuant to
16    15 U.S.C. § 1117(b);
17          8.     Awarding ACQUISITION’s statutory damages pursuant to 15 U.S.C. §
18    1117(c);
19          9.     A declaratory judgment declaring that Defendants are not entitled to the
20    use of the RINGBA Mark.
21          10.    Awarding ACQUISITION punitive and exemplary damages sufficient to
22    penalize and make an example of Defendants and to deter them from similar such
23    conduct in the future;
24          11.    Such other and further relief as the Court deems just and proper.
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                                           COMPLAINT - 12
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 1                                         HANKIN PATENT LAW, APC
 2

 3    Date: September 30, 2019             /Marc E. Hankin/
 4                                         Marc E. Hankin
 5                                         Attorney for PLAINTIFF,
 6                                         ACQUISITION MANAGEMENT, INC.
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 9                               DEMAND FOR JURY TRIAL
10          ACQUISITION hereby demands a trial by jury of all issues so triable in this
11    action.
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13                                         HANKIN PATENT LAW, APC
14

15    Date: September 30, 2019             /Marc E. Hankin/
16                                         Marc E. Hankin
17                                         Attorney for PLAINTIFF,
18                                         ACQUISITION MANAGEMENT, INC.
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